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                           UNITED STATES DISTRICT COURT FOR THE
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

  SELINA MARIE RAMIREZ,                         §
  individually and as Independent               §
  Administrator of, and on behalf of, the       §
  ESTATE OF GABRIEL EDUARDO                     §
  OLIVAS and the heirs-at-law of                §
  GABRIEL EDUARDO OLIVAS, and as                §
  parent, guardian, and next friend of and      §
  for female minor S.M.O.; and GABRIEL          §   CIVIL ACTION NO. ______________
  ANTHONY OLIVAS, individually,                 §
                                                §   JURY DEMANDED
           Plaintiffs,                          §
                                                §
  v.                                            §
                                                §
  CITY OF ARLINGTON, TEXAS;                     §
  JEREMIAS GUADARRAMA; and                      §
  EBONY N. JEFFERSON,                           §
                                                §
          Defendants.                           §

                               PLAINTIFFS’ ORIGINAL COMPLAINT

          City of Arlington custom, policy, and/or practice, and two Arlington police
  officers, caused Gabriel Olivas’ horrific death. Defendant officers Tased him while he
  was covered with gasoline. As expected, Mr. Olivas caught fire, suffered burns over
  approximately 85% of his body, and died within a few days.




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TO THE HONORABLE UNITED STATES DISTRICT COURT:
         Plaintiffs file this complaint and for cause of action will show the following.


I.      Introductory Allegations

        A.       Parties

        1.       Plaintiff Selina Marie Ramirez (“Ms. Ramirez” or “Selina”) is a natural person who

resides and did reside and was domiciled in Texas at all relevant times. Ms. Ramirez was Gabriel

Eduardo Olivas’ wife at the time of Mr. Olivas’ death. Gabriel Eduardo Olivas is referred in this

pleading as “Gabriel” and/or “Mr. Olivas.” Ms. Ramirez brings claims in this lawsuit individually

and as the Independent Administrator of the Estate of Gabriel Eduardo Olivas. Ms. Ramirez also

brings claim by and on behalf of female minor S.M.O. as S.M.O.’s mother, guardian, and next

friend. S.M.O. was Gabriel’s daughter at the time of Gabriel’s death. Ms. Ramirez asserts any and

all claims available in her capacity as the Independent Administrator regarding Gabriel’s death,

both survival claims and wrongful death claims, including all claims on behalf of the Estate and

all of Gabriel’s heirs-at-law including but not necessarily limited to Ms. Ramirez and Gabriel’s

children – Gabriel Anthony Olivas and female minor S.M.O.                  Letters of independent

administration were issued to Ms. Ramirez on or about August 22, 2018, in Cause Number 2018-

PR00844-2, in the Probate Court No. 2 of Tarrant County, Texas, in a case styled In the Estate of

Gabriel Eduardo Olivas, Deceased.

        2.       Plaintiff Gabriel Anthony Olivas is a natural person who resides and did reside and

was in domiciled in Texas all relevant times. Gabriel Anthony Olivas was Mr. Olivas’ son at the

time of Gabriel’s death. Gabriel Anthony Olivas brings claims in this lawsuit individually.

        3.       Defendant City of Arlington, Texas (“Arlington” or “City of Arlington”) is a Texas

incorporated municipality/city. Arlington may be served with process pursuant to Federal Rule of



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Civil Procedure 4(j)(2) by serving its chief executive officer. The identity of Arlington’s chief

executive officer is determined by Arlington’s decision to use the council-manager form of

government. As a result, Arlington’s chief executive officer is City Manager Trey Yelverton. City

Manager Trey Yelverton may be served with process at City Manager’s Office, 101 West Abram

Street, 3rd Floor, Arlington, Texas 76010, or wherever he may be found. Arlington may also be

served with process pursuant to Federal Rule of Civil Procedure 4(j)(2) by serving it in the manner

prescribed by Texas State law for serving a summons or like process (a citation in Texas State

courts) on such a Defendant. Texas Civil Practice and Remedies Code 17.024(b) reads, “In a suit

against an incorporated city, town, or village, citation may be served on the mayor, clerk, secretary,

or treasurer.” Therefore, Arlington may also be served with process by serving its mayor, clerk,

secretary, or treasurer wherever any such person may be found. Arlington acted or failed to act at

all relevant times, in accordance with its customs, practices, and/or policies, through its

policymakers, chief policymakers, employees, agents, representatives, and/or police officers and

is liable for such actions and/or failure to act to the extent allowed by law (including but not

necessarily limited to law applicable to claims pursuant to 42 U.S.C. § 1983).

        4.       Defendant Jeremias Guadarrama (“Officer Guadarrama” or “Mr. Guadarrama”) is

a natural person who resides and is domiciled, and may be served with process, at 13104 Settlers

Trail, Fort Worth, Texas 76244. Mr. Guadarrama may also be served with process wherever he

may be found or, pursuant to Federal Rule of Civil Procedure 4(e), by leaving a copy of this

complaint and a summons directed to Mr. Guadarrama at Mr. Guadarrama’s dwelling or usual

place of abode with someone of suitable age and discretion who resides there. Mr. Guadarrama

may also be served with process at Arlington Police Department, 620 W. Division Street,

Arlington, Texas 76011. Mr. Guadarrama is being sued in his individual capacity and acted at all




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relevant times under color of State law. Mr. Guadarrama was employed by and/or was the agent

and/or designee and/or contractor of and for City of Arlington at all such times and acted or failed

to act in the course and scope of his duties for City of Arlington.

        5.       Defendant Ebony N. Jefferson (“Officer Jefferson,” “Mr. Jefferson,” or “Sergeant

Jefferson”) is a natural person who resides and is domiciled, and may be served with process, at

8510 Wooded Trail, Dallas, Texas 75249. Mr. Jefferson may also be served with process

wherever he may be found or, pursuant to Federal Rule of Civil Procedure 4(e), by leaving a copy

of this complaint and a summons directed to Mr. Jefferson at Mr. Jefferson’s dwelling or usual

place of abode with someone of suitable age and discretion who resides there. Mr. Jefferson may

also be served with process at Arlington Police Department, 620 W. Division Street, Arlington,

Texas 76011. Mr. Jefferson is being sued in his individual capacity and acted at all relevant times

under color of State law. Mr. Jefferson was employed by and/or was the agent and/or designee

and/or contractor of and for City of Arlington at all such times and acted or failed to act in the

course and scope of his duties for City of Arlington.


        B.       Jurisdiction and Venue

        6.       The court has original subject matter jurisdiction over this lawsuit according to 28

U.S.C. §§ 1331 and 1343(4), because this suit presents a federal question and seeks relief pursuant

to federal statutes providing for the protection of civil rights. This suit arises under the United

States Constitution and a federal statute - 42 U.S.C. § 1983.

        7.       The court has personal jurisdiction over City of Arlington because it is a Texas

City. The court has personal jurisdiction over the natural person Defendants because they reside

in, are domiciled in, and are citizens of Texas.




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        8.       Venue is proper in the Dallas Division of the United States District Court for the

Northern District of Texas, pursuant to 28 U.S.C. § 1391(b)(1). It is the division in the district in

which Defendant Mr. Jefferson resides, and all Defendants are Texas residents.


II.     Factual Allegations

        A.       Introduction

        9.       Plaintiffs provide in the factual allegations sections below the general substance of

certain factual allegations. Plaintiffs do not intend that those sections provide in detail, or

necessarily in chronological order, any or all allegations. Rather, Plaintiffs intend that those

sections provide Defendants sufficient fair notice of the general nature and substance of Plaintiffs’

allegations, and further demonstrate that Plaintiffs’ claim(s) have facial plausibility. Whenever

Plaintiffs plead factual allegations “upon information and belief,” Plaintiffs are pleading, in

accordance with Federal Rule of Civil Procedure 11(b)(3), that the specified factual contentions

have evidentiary support or in the alternative will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery.


        B.       Gabriel Eduardo Olivas

        10.      Gabriel grew up in Sylmar, California. Gabriel and Selina met when they were

teenagers, and had been together as a couple since not long after meeting. They had been common-

law married for years prior to Gabriel’s death. Gabriel and Selina moved to Arlington, Texas when

Gabriel was approximately 22 years old, where they resided until Gabriel’s death.

        11.      Gabriel worked doing creative effects for movies when he and Selina lived in

California. This included things such as using fans for actors, to make it appear as if actors were




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in a windy situation, and using road cages for cars. When Gabriel and Selina moved to Texas,

Gabriel worked in t-shirt printing.


        C.       Officer Guadarrama and Officer Jefferson Unreasonably Tase Mr. Olivas,
                 Causing Him to Catch Fire, Suffer Horrific Burns, Linger, and Die

        12.      On July 10, 2017, Mr. Olivas was at home, telling family members that he would

kill himself, by lighting himself on fire after dousing himself with gasoline. He did not threaten

to harm his wife, his son, or anyone else in his home. Rather, Mr. Olivas was distraught and

seeking attention. Mr. Olivas never ignited a lighter or any other device to catch himself on fire.

Instead, Defendant police officers arrived at his home, Tased Mr. Olivas (knowing that he was

drenched with gasoline), and caused Mr. Olivas to catch fire and die after lingering in excruciating

pain for days.

        13.      There is no doubt that all police officers at the scene of the incident leading to Mr.

Olivas’ death, at which he was Tased, were aware that Mr. Olivas was threatening to commit

suicide. Upon information and belief, they learned this information through communications with

the Arlington Police Department before arriving at Mr. Olivas’ home. Further, even after Mr.

Olivas was Tased and caught fire, as described below, Arlington Police Officer C. Pierce (#2827)

signed a notification of emergency detention. Officer Pierce wrote in part that Mr. Olivas had

made several statements to family members about killing himself. Officer Pierce also noted that

Mr. Olivas poured gasoline inside the home as well as all over himself, saying he was going to kill

himself. Therefore, Officer Pierce sought temporary admission of Mr. Olivas to the Medical City

Plano inpatient mental health facility on an emergency basis. This request is authorized under

Texas law. Thus, all such officers knew that Mr. Olivas had not threatened to harm, and had not

harmed, anyone other than himself.




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                 1.       Statements

         14.     Arlington Police Officers provided statements about what occurred after Mr. Olivas

was improperly and unreasonably Tased. Relevant portions of relevant statements are provided

below.

                          a.       Officer Scott (#2835)

         15.     Officer Scott provided a statement, entitled “supplemental narrative,” regarding the

incident. Officer Scott wrote that, on July 10, 2017, at approximately 11:57 a.m., he, Corporal

Ray, Officer Guadarrama, and Sergeant Jefferson were dispatched to Mr. Olivas’ home. The call

text stated that the caller’s father was threatening suicide. The caller was Gabriel Anthony Olivas,

and his father was Mr. Olivas. The call text allegedly further indicated that Mr. Olivas was

threatening to burn down the house and was pouring gasoline in the house. However, there was

no indication that Mr. Olivas was threatening to harm his wife, his son, or anyone else in the home,

or that he had trapped and/or otherwise put any such persons in a position that they would be

harmed if Mr. Olivas chose to kill himself. Mr. Olivas did not threaten to harm his wife, son, or

anyone else at the home, and he had not trapped, injured, harmed, or put anyone in his home in a

position that such persons would be harmed or injured if Mr. Olivas actually chose to commit

suicide. However, upon information and belief, Mr. Olivas would never have committed suicide.

Mr. Olivas did not commit suicide, and he did not light a lighter he was holding. He caught fire

solely as a result of officers Tasing him when they should not have done so.

         16.     While driving to Mr. Olivas’ home, police officers informed police dispatch to have

Mr. Olivas’ son and whoever else was in the house with Mr. Olivas to exit the house. When

officers arrived at the scene, it would have been reasonable for them to follow their own advice,

and remove people other than Mr. Olivas from the home. They should have removed everyone



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other than Mr. Olivas from the home rather than ultimately confronting and Tasing Mr. Olivas

with family members in the area. Officer Scott heard Officer Elliott (#3007) place himself onto

the call for service. Before Officer Scott’s arrival, he asked dispatch where Mr. Olivas was located.

Officer Scott was told that he was inside one of the bedrooms.

        17.      Officer Scott indicates that he arrived at approximately 12:02 p.m., along with

Corporal Ray. Officer Scott noticed that there were already three police vehicles at Mr. Olivas’

house. Police officers from those vehicles were already presumably in Mr. Olivas’ home. As

Officer Scott was pulling up to Mr. Olivas’ residence, he heard officers “call for the channel.”

After parking, Officer Scott and Corporal Ray began to run toward the home. Officer Scott saw

an Hispanic female in the front yard waving at officers, and yelling, “Hurry up.” Officer Scott

asked the female which way, and she said down the hallway to the first bedroom on the right. This

description of where Mr. Olivas was located shows how easy it would have been for officers inside

to quickly remove family members from the house through the front door, before having to have

any physical interaction with Mr. Olivas. Ms. Ramirez is approximately 5 feet, 1 inch tall, and

Gabriel Anthony Olivas is approximately 5 feet, 8 inches tall.

        18.      Officer Scott and Corporal Ray entered the home and ran towards the bedroom.

Corporal Ray then abruptly stopped, and Officer Scott bumped into him as a result. Officer Scott

never made it to the bedroom and was not able to see who was inside of the bedroom. Corporal

Ray then informed Officer Scott that a male was on fire. Officer Scott could then see smoke

coming from the bedroom in which Mr. Olivas has been Tased.


                          b.       Corporal Ray (#2573)

        19.       Corporal Ray wrote a report, entitled “Supplemental Narrative.” He wrote that, on

Monday, July 10, 2017, at 11:57 a.m., he was dispatched to Mr. Olivas’ home regarding an alleged



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suicidal subject, high on methamphetamines, and who was pouring gasoline inside the home.

Corporal Ray indicated that, when he arrived, he was met by “frantic family members yelling for

officers to hurry and help their father.” Mr. Olivas’ son, Gabriel Anthony Olivas, yelled to

Corporal Ray that, as soon as he entered the home, he should turn right, and he would find Mr.

Olivas in the first room. Once again, this description as to how to access the bedroom in which

Mr. Olivas was located, and which was now on fire, showed how easily it would have been for

Defendant police officers to have removed family members from the residence using the open

front door (thereby avoided Tasing Mr. Olivas). They could have then examined the situation

from a better vantage point. Corporal Ray entered the home and turned right. As soon as he turned

the corner, he observed Mr. Olivas, on fire, yelling. The room was very dark by that point, and

smoke was beginning to fill the room.


                          c.       Officer Jeremias Guadarrama (#2514)

        20.       Officer Guadarrama signed a typed statement after the incident involving Mr.

Olivas. He wrote that, on Monday, July 10, 2017, at approximately 12:00 p.m., he was dispatched

to Mr. Olivas’ residence in reference to a suicidal individual who had been believed to have doused

his residence with gas. He was the first officer arriving at the scene, and he staged while awaiting

back-up.

        21.      Officer Guadarrama wrote that Sergeant Jefferson and Officer Elliott were the next

officers to arrive at Mr. Olivas’ home on July 10, 2017. He wrote, “Sergeant Jefferson reminded

us to use non-lethal on the suicidal person.” Officer Guadarrama noted that, as they walked toward

Mr. Olivas’ home, the front door was wide open. Thus, there was no obstruction keeping officers

from removing people other than Mr. Olivas from the home, through the front door. They entered

the residence, and Officer Guadarrama “very quickly detected the strong odor of gasoline inside



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the residence.” Thus, he, and every other officer arriving at the home prior to interaction with Mr.

Olivas knew that using a Taser in such a situation, in an area in which gas and/or gas fumes was

present, would start a fire. After he walked further into Mr. Olivas’ home, he heard loud discussion

between a male and female in an east corner of Mr. Olivas’ home. When they walked further into

the house, a female family member pointed officers into the east corner bedroom. This was

roughly the southeast corner of the home, or the front right corner.

        22.      As the officers entered into that bedroom, Officer Guadarrama “knew that the

suicidal male [Mr. Olivas] was inside the bedroom.” Further, “I was concerned that the suicidal

male would ignite the bedroom on fire igniting himself and innocent victims, because I could smell

the very strong odor of gasoline inside the bedroom.” Regardless, Officer Guadarrama did nothing

to remove people from the home and extract them from what he perceived to be a dangerous

situation. Instead, as described below, he chose to leave such persons in the home, Tase Mr.

Olivas, and catch Mr. Olivas and the home on fire as a result.

        23.      Officer Guadarrama’s statement omits important occurrences.         His statement

indicates that Mr. Olivas immediately began pouring a red container full of liquid on top of his

heard with his left hand while holding in his right hand “some sort of lighting mechanism.” He

also wrote that “the female was in-between the suicidal individual and officers within arm’s reach

of both . . . .” However, he alleged, “[S]he would not leave the room after several commands.”

Officer Guadarrama should have grabbed the woman and removed her from the room. Instead,

his allowing her to remain, and the ultimate Tasing of Mr. Olivas, was unreasonable.

        24.      Officer Guadarrama, confusing the chronology of what occurred, writes that

Officer Elliott then sprayed Mr. Olivas with OC spray. Officer Guadarrama saw Sergeant

Jefferson remove his Taser and point it at Mr. Olivas. After Officer saw the red dot from Sergeant




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Jefferson’s Taser on Mr. Olivas’ chest, Officer Guadarrama also pulled his Taser and pointed it at

Mr. Olivas. Sergeant Jefferson was the ranking officer, and Officer Guadarrama followed the lead

of his ranking officer.

        25.      Officer Guadarrama makes no mention in his statement about Officer Elliott clearly

telling Officer Guadarrama and Sergeant Jefferson that, if they shot Mr. Olivas with the Taser, he

would catch on fire. Regardless, Officer Guadarrama knew that, if he shot Mr. Olivas with a Taser,

Mr. Olivas, and potentially the entire room (due to gas fumes), would catch fire. Officer

Guadarrama admitted in his statement that Mr. Olivas was in close proximity at the time, and was

further a “safe distance away from his family members.” Officer Guadarrama further wrote

something in the statement which was a blatant inconsistency. He wrote, “The female family

member was right next to the suicidal male . . . .” He even went so far as to write, “I was afraid

that if I fired my firearm a bullet from my service weapon could possibly strike the female family

member due to the close proximity that she had next to the suicidal male.” Both cannot be true.

Mr. Olivas could not be a “safe distance away from his family members” and at the same time be

right next to a female family member.

        26.      Officer Guadarrama wrote, “I instinctively fired my duty issued Taser striking the

male in the torso area.” He also wrote that “moments later the individual was engulfed in flames.”

He noted that Mr. Olivas “then began to run around the room engulfing the room in flames.” None

of this was a surprise to Officer Guadarrama.

        27.      The fact that Officer Guadarrama alleges that he “instinctively” fired his Taser at

Mr. Olivas showed that he was not acting in a reasonable manner based upon his knowledge of

what would occur after firing the Taser. Upon information and belief, Officer Guadarrama had

attended training during which he learned that the firing of a Taser in such situation was likely to




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cause Mr. Olivas, and potentially other areas in the room with gasoline fumes, to catch fire. Officer

Elliott had also told Officer Guadarrama prior to Taser deployment that Mr. Olivas would catch

fire. The result was Mr. Olivas’ death.


                          d.       Sergeant Ebony N. Jefferson (#2116)

        28.       Sergeant Jefferson signed a written statement regarding the incident, on July 14,

2017, after having plenty of time to meet with his attorney. Sergeant Jefferson wrote that he was

on duty working as Operational Sergeant in the East District. He then heard dispatch send officers

to Mr. Olivas’ home in reference to a suicidal person. He also heard that the person had poured

gasoline on himself and in a room. Sergeant Jefferson was not far from the location, so he asked

dispatch to show that he would be in route to the call.

        29.      When Sergeant Jefferson arrived, he saw two other patrol vehicles staged near Mr.

Olivas’ home. He then informed dispatch that he was on-scene. Those officers were Officer Elliott

and Officer Guadarrama.

        30.      Sergeant Jefferson saw Officer Elliott and Officer Guadarrama run toward the open

front door of Mr. Olivas’ home. Sergeant Jefferson exited his vehicle and ran to and joined the

other officers at the door.

        31.      Sergeant Jefferson noticed that Officer Guadarrama had his duty firearm drawn.

Therefore, Sergeant Jefferson told Officer Elliott to draw “less lethal.” This was an instruction to

Officer Elliott to draw his Taser. After Officer Elliott pulled his Taser, Sergeant Jefferson pulled

his Taser “as a second less lethal option.”

        32.      Sergeant Jefferson admitted that, “[a]s the Sergeant, [, he] wanted to be able

immediately address whatever threat [he and other officers] were about to encounter.” Officer

Guadarrama entered the residence, followed by Officer Elliot, followed by Sergeant Jefferson.



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Sergeant Jefferson determined that the noise was coming from a room down the hallway on the

east side of the house from the front door. When they entered the room with Mr. Olivas, Sergeant

Jefferson smelled gas. He noted that Officer Elliott had his Taser pointed in the direction of people

in the room. After making observations of several people in the room and hearing the commotion,

Sergeant Jefferson alleges that he re-holstered his Taser and began to pull people away from Mr.

Olivas and pushed them into the hallway. He was allegedly unsuccessful. Upon information and

belief, Sergeant Jefferson would have been able to remove those people from the property, out the

front door, if that were his goal. Further, upon information and belief, this did not occur as

Sergeant Jefferson alleged.

        33.      Sergeant Jefferson would ultimately give a statement to Detective Gildon, who

would investigate Mr. Olivas’ death on behalf of the City of Arlington. Sergeant Jefferson, in an

assertion completely opposite of what he told Detective Gildon, wrote, “I un-holstered my [T]aser,

turned it on and pointed it at the suspect.” It appears that Sergeant Jefferson, after realizing he did

not tell the truth to a fellow law enforcement officer, and after having time to meet with his

attorney, decided to change his story. Sergeant Jefferson wrote that he then heard a Taser discharge

from where Officer Guadarrama was standing. Further, upon hearing that discharge, “The suicidal

suspect immediately catches on fire and I became startled by the flames and moved away from

them.” Sergeant Jefferson then, upon information and belief, falsely asserts that he unintentionally

discharged his Taser. Upon information and belief, Sergeant Jefferson pointed his Taser at Mr.

Olivas and intentionally shot Mr. Olivas. This was patently unreasonable.


                          e.       Officer Caleb Elliott (#3007)

        34.       Officer Caleb Elliott signed a statement related to the incident leading to Mr.

Olivas’ death. In his statement, he indicated that, on July 10, 2017, at approximately 12:30 p.m.,


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he was driving a marked patrol vehicle in full uniform. He wrote that he overhead a suicide in

progress call at Mr. Olivas’ home, and that the call was announced on the radio. He said the call

text indicated that the caller’s father was wanting to harm himself. Upon information and belief,

there was no call text indicating that Mr. Olivas wanted to harm anyone else. Officer Elliott

indicated that, since he was coming back to the East District from administrative markout at the

main station, he waited until he was inside East District lines before sending the dispatcher a

message informing her that he would be in route to the call. He then received information over

the radio that Mr. Olivas was pouring gasoline on himself. Officer Elliott activated his overhead

lights and siren and began to drive to Mr. Olivas’ home.

        35.      As Officer Elliott got close to Mr. Olivas’ home, he heard Officer Guadarrama call

out on the radio that he was staged near Mr. Olivas’ home. Officer Elliott turned off his siren

when he was approximately 200 yards north of Carla Avenue on Allen Avenue. He then saw

Officer Guadarrama, who had parked on Mr. Olivas’ street just off of Allen Avenue, begin to drive

to Mr. Olivas’ home. Officer Elliott followed Officer Guadarrama and parked directly behind him

(just west of Mr. Olivas’ home).

        36.      As Officer Elliott and Officer Guadarrama walked toward Mr. Olivas’ home,

Officer Elliott put on latex gloves due to information regarding gasoline having been poured onto

Mr. Olivas. Officer Guadarrama told Officer Elliott that, some time back, he and other officers

had responded to the home and discovered a man who possibly could be the same subject in the

current call and who Officer Guadarrama said was wanting suicide by cop at the time. The

assertion that Mr. Olivas wanted “suicide by cop” was false. Mr. Olivas never wanted “suicide by

cop” and/or to be killed by any police officer. Upon information and belief, Officer Guadarrama




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made the statement to, in advance, attempt to create a defense for himself if anything were to go

wrong inside the home. Mr. Olivas needed help. He did not need to be Tased and killed by police.

        37.      At this point, Sergeant Jefferson arrived at the scene.           Sergeant Jefferson

approached Officer Guadarrama and Officer Elliott in the front yard. Sergeant Jefferson, being in

charge of the scene, said to Officer Elliott, “Elliott, you take less lethal.” Officer Elliot understood

the instruction, and un-holstered his Taser and held it by his side in his right hand. However,

shortly after unholstering his Taser, Officer Elliott realized what everyone at the scene realized as

well – if Mr. Olivas “had actually poured gasoline on himself, applying a Taser was likely to ignite

a fire.” Thus, consistent with Officer Elliott’s Taser-use knowledge, he knew that Mr. Olivas

would probably catch fire if someone used a Taser on him. Sergeant Jefferson, who was in charge,

and Officer Guadarrama, possessed the same knowledge. They knew that, if they Tased Mr. Olivas

after he had poured gasoline on himself, he would probably catch fire. Thus, while Sergeant

Jefferson referred to Officer Elliott’s potential use of a Taser as “less lethal,” he knew that it would

be lethal if Mr. Olivas had poured gasoline on himself.

        38.      Officer Elliott kept his Taser out and by his side as they entered Mr. Olivas’ home,

due to, at that moment, Officer Elliott not knowing for sure whether Mr. Olivas had actually poured

gasoline onto himself or if, instead, Mr. Olivas’ family had meant only that Mr. Olivas had been

grabbing at a gasoline can in an attempt to pour gasoline on himself. Officer Elliott’s speculation

would soon be remedied, and he, along with every other officer in the room with Mr. Olivas, would

know with certainty that Mr. Olivas had in fact poured gasoline on himself.

        39.      Officer Elliott continued his written statement. He affirmed that he would use the

Taser “only if [he] had sufficient reason to believe [Mr. Olivas] had not actually poured gasoline

on himself.” Therefore he “kept it in [his] hand in case [he] immediately had cause to use it and




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knowledge that [Mr. Olivas] had not doused himself in gasoline.” Officer Elliott knew that he

could not use excessive, unconstitutional force on Mr. Olivas by firing a Taser at him when he was

doused with gasoline, even if a ranking officer instructed him to do otherwise.

        40.      Officer Guadarrama entered the home before Officer Elliott, and Sergeant Jefferson

was directly behind Officer Elliott. Officer Elliott saw a female standing inside near the entrance

to the home. Thus, the female could have been easily removed from the home by the Defendant

officers. After he entered Mr. Olivas’ home, Officer Elliott observed a puddle of some liquid on

the floor to the right of the front door.

        41.      Officer Elliott followed Officer Guadarrama into the bedroom in which Mr. Olivas

was located. The bedroom was directly east of the front door. As soon as Officer Elliott entered

the room, he could smell the odor of gasoline. Upon information and belief, the Defendant officers

also could smell the odor of gasoline in the air as they entered the room. Thus, they all knew that

Mr. Olivas would probably catch fire if he were Tased and covered with gasoline.

        42.      Officer Elliott saw Mr. Olivas on the far south wall of the room, leaning against the

wall. Mr. Olivas was holding a red plastic gas can against his body, and it appeared to be a 2-

gallon or 2.5-gallon can. Officer Elliott observed two or three family members attempting to pull

the gas can away from Mr. Olivas. Mr. Olivas and the family members were yelling and

screaming, but Officer Elliott could not make out any words. Officer Guadarrama moved to the

left side of the room, in front of a large piece of furniture. Officer Elliott moved to the right side

of the room in front of another piece of furniture which separated him from Officer Guadarrama.

Sergeant Jefferson then entered the room, standing at the end of the couch between Officer

Guadarrama and Officer Elliott.




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        43.      Officer Elliott used his flashlight to illuminate Mr. Olivas. He noted that Mr.

Olivas’ body appeared dry. Thus, Officer Elliot believed that “Taser deployment may have been

possible due to the lack of visible gasoline on his body.” Therefore, Officer Elliott activated his

Taser and pointed it at Mr. Olivas. At that time, family members moved behind the officers and

stood closer to the room’s doorway. The Defendant officers should have taken that opportunity to

physically remove those family members from the home and avoid what would occur. Officer

Elliott turned his head and shouted at the family, “Get out of here, now!” The family backed up

to the doorway, but then came back into the room. Upon information and belief, Defendant

officers did nothing to physically remove the family from the situation. It would have been

reasonable to do so at that time, and before any interaction with Mr. Olivas had occurred.

        44.      At this point, Officer Elliott realized that, although Mr. Olivas’ skin appeared dry,

he could still have gasoline fumes on or around him. Thus, if Tased, Mr. Olivas could be set on

fire. Officer Elliott turned his head slightly, so that he could see Sergeant Jefferson and Officer

Guadarrama. He then shouted to Sergeant Jefferson and Officer Guadarrama, “If we Tase him, he

is going to light on fire.” Officer Elliott then holstered and turned off his Taser.

        45.      It was abundantly clear to Officer Elliott that, if any one Tased Mr. Olivas, Mr.

Olivas would catch fire. Officer Elliott did not say he would likely catch fire, or would probably

catch fire. He said that he would catch fire.

        46.      Thus, it was clear to all three officers in the room that, if Mr. Olivas was Tased, he

would suffer significant burns and injury, and potentially death. Officer Elliott had been with the

City of Arlington Police Department for only approximately one year at that time, whereas

Sergeant Jefferson had been with the Department over fourteen years, and Officer Guadarrama

had been with the Department over nine years. However, Officer Elliott acted at that time in a




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reasonable manner, stating his knowledge regarding Taser deployment. Sergeant Jefferson and

Officer Guadarrama had the same knowledge but chose to ignore it and instead act in an

unreasonable, unconstitutional manner.

        47.      Officer Elliott then unholstered his OC spray and shook it briefly, attempting to

mix it thoroughly, before spraying Mr. Olivas in the face from approximately 6 feet away (for

approximately 2 seconds). As Officer Elliott shook his spray, Mr. Olivas stood up and poured

gasoline over his head and onto his head. Officer Elliott could see the gasoline running all the way

down Mr. Olivas’ torso and beginning to soak his pants. Upon information and belief, other

officers in the room also saw the same thing. At some point, Mr. Olivas began screaming “non-

sense” and yelling that he was going to burn the place to the ground. However, by this time, Mr.

Olivas had moved to a position near the middle of the far wall to the left corner, near the window.

It was at this point he began to turn and face Officer Elliott. Officer Elliott, fearing that he would

flood the room with OC spray fumes and begin to incapacitate himself and other officers, shut off

the spray.

        48.      The fact that Officer Elliott was only 6 feet away from Mr. Olivas shows that Mr.

Olivas could have easily been subdued by Officer Elliott, by Officer Elliott rushing and grabbing

Mr. Olivas. Upon information and belief, other officers in the room could have done the same.

Police officers often use what is referred to as the “21-Foot Rule” when attempting to defend

themselves from excessive force allegations. This purported rule holds that, if a subject armed

with a knife, club, or similar weapon is within 21 feet of an officer, a reasonable conclusion would

be that the officer would be within a danger zone. According to the alleged rule, such a person

would be able to close the distance and use the weapon before the officer could unholster and use




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his or her handgun. The purported rule further holds that the subject could close the 21 feet in

about one-and-a-half seconds.

        49.      Assuming without admitting that the 21-Foot Rule presents a truthful scenerio, then

Mr. Olivas being only 6 feet away from Officer Elliott, and only a bit more than that away from

other officers in the room, such officers could have closed the distance between themselves and

Mr. Olivas in much less than a second and physically restrained him from doing anything to

himself.      However, instead of doing so, Defendant officers ultimately chose to Tase, and

unfortunately kill, Mr. Olivas. They chose to do this knowing that there were others in the room

that they could have physically removed. Thus, Defendant officers acted unreasonably and

unconstitutionally.

        50.      Notably, it was not until after this point that Officer Elliot noticed that Mr. Olivas

had an object in the hand other than the hand with which he was holding the gasoline can. Upon

information and belief, other officers likewise had not noticed the object until that time. Thus, any

and all officers in the room could have and should have quickly physically subdued Mr. Olivas

rather than stand at a distance and using OC spray and/or a Taser to attempt to subdue him. It was

unreasonable to think that gas alone, without some lighting device, would have been a danger

keeping officers from quickly and physically subduing Mr. Olivas.

        51.      Officer Elliott noticed the object in Mr. Olivas’ hand when Mr. Olivas lowered the

gasoline can with his left hand but kept his right hand raised. Officer Elliott believed the object to

be a lighter of some sort. Officer Elliott realized that officers either had to find a way to

incapacitate Mr. Olivas (which, upon information and belief, they could have already physically

done quickly), or evacuate the home and formulate a plan to remove the subject. The home




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evacuation should have been done immediately when officers arrived at the scene, but they chose

to unreasonably engage in extended interaction with Mr. Olivas and ultimately cause his death.

        52.      Officer Elliott observed Sergeant Jefferson pull his Taser out of its holster and point

it at Mr. Olivas. Officer Elliott then saw two red lasers trained on Mr. Olivas’ chest. This indicated

to Officer Elliott that there were two Tasers pointed at Mr. Olivas. Officer Elliott’s Taser was still

holstered, and turned off. Shockingly, Officer Elliott then heard a sudden pop, indicating to him

that a Taser had been fired. “[T]he subject was suddenly engulfed in flame.” South and east walls

in the room quickly started to catch fire, and Officer Elliott could feel immense heat. The family

was still behind Officer Elliott at that time, which once again showed that Defendant officers could

have quickly forced family members to exit the home through the relatively close front door. This

was, unfortunately, demonstrated after Mr. Olivas caught fire. Officer Elliott “began to push and

shove the family out of the room, saying, ‘Get out, get out now!’” Sergeant Jefferson and Officer

Guadarrama were closer at that point in time to Mr. Olivas than was Officer Elliott. Officer Elliott

ultimately ran out of the home to make sure all the family members were outside, and he observed

a family member grabbing a water hose to try to put out the fire from the outside of the home. At

one point, Officer Elliott went back into the home and saw Mr. Olivas laying on the ground,

kicking and flailing as he laid there, on fire, and in horrific pain.


                 2.       Mr. Olivas’ Medical Condition at the Scene

        53.      American Medical Response (“AMR”) responded to the scene to medically assist

Mr. Olivas. Records indicate that AMR received a call at 11:55 a.m. and arrived at Mr. Olivas’

side at 12:13 p.m. Mr. Olivas’ pain was listed in records as being 10 on a scale of 10 at 12:15 p.m.

The listed chief complaint was “burn.”




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        54.      Records indicate that Mr. Olivas was found with what appeared to be a full-body

burn, having mostly second and third degree burns with some first degree burns. Mr. Olivas could

not open his eyes, and his clothes were burned off with the exception of a portion of his pants and

socks. Mr. Olivas was yelling for help. His skin was ashen, black, and red. Mr. Olivas appeared

to have Taser barbs in his chest. The barbs were removed.

        55.      Mr. Olivas was transferred to the hospital by ambulance. He did not say anything

during transport about what occurred, or how he became engulfed in flames. Mr. Olivas was

crying in pain and demanding morphine. Morphine was administered to Mr. Olivas on the way to

the hospital, in three doses of 5 milligrams each. Even after administration of that medication, Mr.

Olivas was described as fully alert and screaming. Mr. Olivas was unable to sign medical records

due to his injuries. Records indicate that an EMT was told at the hospital, by someone with the

Arlington Police Department, that Mr. Olivas poured gasoline all over himself and lit himself on

file to attempt suicide. The allegation that Mr. Olivas lit himself on fire is false, and it was made

to deflect liability from Defendants.


                 3.       Autopsy

        56.      Stephanie S. Burt, M.D., Assistant County Medical Examiner with Collin County

Office of the Medical Examiner, conducted an autopsy of Mr. Olivas. The report indicates that

Mr. Olivas was 5 feet, 8 inches tall and weighed 200 pounds. Dr. Burt found that Mr. Olivas had

suffered thermal burns and smoke inhalation. She further found extensive partial to full-thickness

burns with debridement and skin grafts over eighty-five percent (85%) of Mr. Olivas’ body. She

noted a history of inhalation injury with soot in his airway. Based upon the autopsy and history

available to Dr. Burt, it was her opinion that Mr. Olivas died as the result of thermal burns and

smoke inhalation. Dr. Burt did not reach any opinion as to what caused the fire which ultimately



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caused Mr. Olivas’ death. However, the fire was caused by Taser deployment described in this

pleading.


        D.       Death Investigation

                 1.       Taser Analysis by Axon Enterprise, Inc. (f/k/a Taser International, Inc.)

        57.      Axon Enterprise, Inc., formally known as Taser International, Inc. (“Axon”), was

asked to analyze Taser evidence distroyed in the fire to determine if the cartridge in each relevant

Taser had deployed on July 10, 2017. Axon received, on July 26, 2017, two boxes. One box was

labeled “RHA 9,” and the other box was labeled “RHA 10.” Axon provided a report, dated

September 7, 2017, regarding its analysis. Axon noted that the X26 Taser was first produced in

2004 and ultimately retired from production in December 2015. The X26 is activated by pulling

the trigger when the device is armed. If the trigger is pulled and released, the X26 will be active

for 5 seconds.

        58.      The report also indicated that the Taser X26P device is a single-cartridge device in

the Axon Smart CEW line which was first available in January 2013. It was designed significantly

on the X26 platform first available in April 2012, which was in turn was significantly designed on

the Taser X3 platform first avaialable in July 2009. The X26P device also had an ambidextrous

safety switch. When the switch is in the up position, the weapon is armed and ready to activate.

The X26P is in safe mode when the safety switch is in the down position.

        59.      The X26 and X26P deploy Taser-brand standard cartridges. Cartridges are offered

in distances of 15 feet, 21 feet, and 25 feet. A 35-foot cartridge was offered until April 2012.

When a Taser cartridge is deployed, 20-to-30 AFID tags are disbursed. The AFIDs are printed

with the serial number of the cartridge from which they are deployed.




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        60.      Axon analyzed evidence it received from Arlington. As to evidence labeled RHA

9 (Item 1), results showed that the cartridge’s gas capsule was punctured, and the wire bundle was

not present inside the cartridge. This indicated that the cartridge had been deployed. Axon could

not determine whether the cartridge was deployed as a result of a trigger pull or as a result of heat

(from the fire) exceeding 536 degrees.

        61.      As to evidence labeled RHA 9 (Item 2) Axon indicated that the cartridge had not

been deployed. As to evidence labeled RHA 10, Axon determiend that the cartridge had been

deployed. Axon was uncertain as to whether the cartridge was deployed as a result of a trigger

pull or due to heat exceeding 536 degrees.


                 2.       Scene Investigators

        62.      On Monday, July 10, 2017, at approximately 1:20 p.m., Arlington Police

Department Crime Scene Investigator S. Ozuna (#2366) was notified by a crime scene sergeant of

the incident involving Mr. Olivas. His report begins with the incorrect statement that Crime Scene

Investigator Ozuna (“CSI Ozuna”) was notified of the incident on “Monday, July 7, 2017 at

approximately 13:20 hours.” Upon information and belief, that was a typographical error. Instead,

upon information and belief, CSI Ozuna arrived at Mr. Olivas’ home on July 10, 2017 at

approximately 1:49 p.m.

        63.      CSI Ozuna noted that the weather was clear and hot. He observed multiple fire

trucks and police vehicles arround Mr. Olivas’ home. He also noted that Mr. Olivas’ home was a

two-story house, with the front door oriented to the south. He indicated that the front yard was on

the east side of the home. CSI Ozuna saw fire damage from the outside of the home involving the

downstairs southeast bedroom. CSI Ozuna was led to that bedroom from the front door by, upon

information and belief, fire investigators. Electricity to the home had been terminated. CSI Ozuna



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provided in his report a detailed description of what he observed at the scene, including significant

fire damage to Mr. Olivas’ home.

        64.      Fire Investigator R. Alcantar (#689) also responded to the house fire on July 10,

2017. He noted that the most severe fire damage was located on the southeast corner of the house.

There was heavy fire, smoke, and heat damage visible in the bedroom in which Mr. Olivas was

Tased and caught fire. The mattress in the room had fire damage, such that mattress springs were

visible. There was also a section on the top of a dresser that had been burned away. According to

his report, “All windows in the bedroom were broken.”


                 3.       Arlington Police Department Homicide Unit

        65.      Detective Grant Gildon (#2261) conducted an investigation regarding Mr. Olivas’

death, and he drafted reports including a 137-page report. Information in this section of the

pleading was obtained from that 137-page report.

        66.      On the very day that Mr. Olivas was shot with Tasers and engulfed in flames,

Sergeant Jefferson, Officer Guadarrama, and Officer Elliot were already meeting with an attorney

representing them from the Combined Law Enforcement Association of Texas (“CLEAT”). “They

stated prior to [Detective Gildon’s] arrival they were told Officer Guadarrama would not be giving

a statement to [Detective Gildon] on [that] date and that it was undetermined if the others would

be providing statements.” Thus, the Defendant officers were able to meet with an attorney, while

Mr. Olivas was receiving emergency medical treatment at the hospital, even before giving

statements as to what occurred. While at Medical City of Arlington on that date, which is where

Detective Gildon learned information in the preceding sentence, he also learned that four Taser

probes were recoverd from Mr. Olivas and his clothing. This indicated that two Taser deployments

had occurred.



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        67.      Attorney Terry Daffron, with CLEAT, was the attorney who responded to the

hosptial to represent Sergeant Jefferson, Officer Guadarrama, and Officer Elliott. Detective

Gildon informed Ms. Daffron of the status of the case, and further that he wanted to speak to the

three officers about what occurred. Ms. Daffron asked if there was anything in particular about

which Detective Gildon wanted to ask during interviews. Thus, upon information and belief,

Defendant officers’ attorney was able to learn a bit about what Detective Gildon would ask – even

before he asked it. Further, upon information and belief, she was then able to communicate this

information to Defendant officers.

        68.      On July 10, 2017, Detective Gildon met with Sergeant Jefferson at Medical City of

Arlington. Also present were Sergeant Jefferson’s attorney, Ms. Daffron, as well as Sergeant

Jones, Detective Griesbach, Sergeant Coggeshall, and Lieutenant Harris. Sergeant Jefferson said

that he told Officer Elliott before entering Mr. Olivas’ house that Officer Elliott would be the

designated officer for the less-leathal option. This indicated that Sergeant Jefferson had delegated

to Officer Elliott the decision to use a Taser (if needed and reasonable).

        69.      Sergeant Jefferson “described experiencing the strong odor of gasoline throughout

the residence.” “He also falsely told the detective that he “Pulled his Taser out but didn’t point it

at the Decedent.” He also falsely represented “he didn’t fire his Taser at any point during the

incident.” However, Sergeant Jefferson was quick to blame Officer Guadarrama for firing his

Taser and striking Mr. Olivas. Sergeant Jefferson falsely told the investigator that he dropped his

Taser onto the floor. He did admit that Officer Elliott, who had been the designated person to

determine whether Taser use was appropriate, did not fire his Taser.

        70.      Upon information and belief, Arlington did not terminate Sergeant Jefferson as a

result of his making false material statements to an investigator. Further, upon information and




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belief, Arlington did not seek prosecution of Sergeant Jefferson as a result of such false statements

made to a law enforcement officer.

        71.      Sergeant Jefferson admitted that, after Taser deployment, Mr. Olivas and multiple

items in the room caught fire. This showed that Taser use can cause gas fumes alone to ignite.

        72.      Detective Gildon also interviewed Officer Elliott at the hospital. Officer Elliott told

Detective Gildon that, when holstering his Taser after entering the residence, as described

elsewhere in this pleading, he said out loud that they couldn’t Tase Mr. Olivas. Officer Elliot also

said that he saw two separate red dots moving around on Mr. Olivas’ chest, and that he believed

those dots to be dots from Tasers. He also said that, upon hearing the Taser discharge, Mr. Olivas

and the room became engulfed in flames. After the interview, Detective Gildon met with Ms.

Daffron and scheduled to meet with her and her client-officers two days later to answer questions

and provide further details.

        73.      Detective Gildon noted that Officer Elliott was in possession of both of his Taser

cartridges. He also noted that Officer Guadarrama had one Taser cartridge loaded into his Taser.

A second Taser cartridge was in his bag inside his patrol vehicle. Detective Gildon seized the

cartridge inside the patrol vehicle.

        74.      Sergeant Jefferson told Detective Gildon that both of his Taser cartridges were

attached to his Taser. Upon information and belief, this was a further false representation made

by Sergeant Jefferson to a law enforcement officer. Detective Gildon was told that both Officer

Guadarrama and Sergeant Jefferson dropped their Tasers inside of Mr. Olivas’ residence when the

fire started.

        75.      Detective Gildon obtained Arlington training records for Officer Elliott and the

Defendant officers. Records indicated that they all completed electronic control weapon (Taser)




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training in 2017, and that they were certified and approved to carry and operate Tasers as of July

10, 2017. Sergeant Jefferson completed his annual Taser training on February 5, 2017, Officer

Guadarrama completed his annual training on February 28, 2017, and Officer Elliott completed

his annual training on June 3, 2017.

        76.      On July 12, 2017, Detective Gildon interviewed Sergeant Jefferson again. The

interview occurred at the Arlington Police Department.            Sergeant Jefferson’s attorney, Ms.

Daffron, was present. Sergeant Jones and Detective Griesbach were also present.

        77.      Sergeant Jefferson admitted that he instructed Officer Elliott to be prepared with

“less lethal coverage.” This meant that Officer Elliott was the designated officer for any Taser

use. Sergeant Jefferson also admitted that, as officers entered the residence, he could smell an

odor of what appeared to be gasoline.

        78.      Sergeant Jefferson, still weaving a tale of alleged non-involvment in Tasing Mr.

Olivas, said that he pulled his Taser out at one point but then decided to re-holster it. This is clearly

untrue, because Sergeant Jefferson shot his Taser at Mr. Olivas. Sergeant Jefferson also admitted

that, as he entered the residence, he thought a Taser could possibly be used to control Mr. Olivas.

Sergeant Jefferson admitted that, at the moment he saw Officer Guadarrama pull his Taser, he

began pulling his Taser from his holster. Detective Gildon asked Sergeant Jefferson whether he

pointed his Taser at Mr. Olivas. “He stated he did not.” This was yet another false statement made

by Sergeant Jefferson to a law enforcement officer. Detective Gildon continued:

        He said as he was drawing his [T]aser Officer Guadarrama fired his [T]aser, which
        caused Sgt. Jefferson to flinch. I then observed Sgt. Jefferson demonstrate how he
        flinched with the [T]aser in his right hand. Sgt. Jefferson stated the Decedent then
        became engulfed in flames, so he dropped his [T]aser on the ground. He stated he
        didn’t believe he fired his [T]aser.




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Thus, Sergeant Jefferson continued in his false narrative, making material misrepresentations to a

law enforcement officer investigating Mr. Olivas’ death. Upon information and belief, Arlington

did not terminate Sergeant Jefferson from his employment as a police officer and did not seek

prosecution of him for the making of such false statements. This was some evidence of Arlington’s

existing policy that the use of a Taser on suicidal subjects covered with gas was appropriate.

        79.       Detective Gildon pushed Sergeant Jefferson about Sergeant Jefferson’s false

representation:

        I began asking Sgt. Jefferson if he fired his [T]aser while in the bedroom addressing
        the Decedent. He stated he did not discharge his [T]aser. I informed Sgt. Jefferson
        that a total of four [T]aser probes were removed from the Decedent, which would
        indicate two separate [T]aser discharges occurred. Upon hearing this, he
        immediately stated that if two [T]asers were discharged then he had to of [sic] fired
        his [T]aser. He stated he knew Officer Elliott didn’t fire a [T]aser because his
        [T]aser was holstered at the time.

Thus, once Detective Gildon convinced Sergeant Jefferson that Detective Gildon could prove with

physical evidence that Sergeant Jefferson filed his Taser at Mr. Olivas, Sergeant Jefferson finally

told the truth.

        80.       Detective Gildon also interviewed Officer Elliott again. The interview occurred on

July 12, 2017 at the Arlington Police Department. Officer Elliott once again reiterated that, due

to the presence of gasoline, he holstered his Taser. Detective Gildon wrote, “He holstered the

[T]aser and stated to the other officers, ‘If we [T]ase him, he’s going to light on fire.’” Thus,

Officer Elliott stated information which Defendant police officers already knew – Tasing Mr.

Olivas was certain to result in him catching fire. Tasing Mr. Olivas in the situation in which he

was Tased was patently unreasonable.




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        E.       Defendant Officers’ Experience and Training

                 1.       2017 Taser Training

        81.      As indicated elsewhere in this pleading, Sergeant Jefferson, Officer Guadarrama,

and Officer Elliott received Taser update training in year 2017 before Mr. Olivas was Tased.

Arlington’s training did not result in those officers receiving TCOLE credit. They only received

in-house Arlington Police Department training credit. Upon information and belief, this was

because Arlington’s training did not meet standards high enough for TCOLE credit.

        82.      These officers were reminded of what they already knew regarding use of a Taser

electronic control weapon in a situation in which flammable substances and/or vapors are present.

A Taser should not be used. Upon information and belief, each officer reviewed the following

page and/or reviewed it as a slide in the 2017 training seminar:




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Therefore, when Sergeant Jefferson and Office Guadarrama chose to shoot their Tasers at Mr.

Olivas, they knew that he would catch fire. The concept was not new to them but one they had

learned years before. They were also reminded of this concept just a few months before Tasing

Mr. Olivas in year 2017.

        83.      Notably, the flammability notice provided by Arlington to its police officers, during

annual Taser training, did not prohibit use of a Taser in such a situation. Therefore, Arlington

policy allowed officers, such as Defendant officers, to Tase someone such as Mr. Olivas, even

when the person was doused in gasoline. This policy was a moving force behind, caused, and was

a proximate cause of Mr. Olivas’ injuries, damages, and death.


                 2.       Texas Commission on Law Enforcement Records

        84.      The Texas Commission on Law Enforcement (TCOLE) keeps records of training

completed by, and the work history of, peace officers and jailers in Texas. TCOLE records indicate

that Defendant officers, as a result of their experience and law enforcement–related education,

knew that what they did with regard with Mr. Olivas violated Mr. Olivas’ constitutional rights.

        85.      TCOLE records indicate the following service history for Officer Elliott:

          Appointed           Department            Award           Service       Service
              As                                                   Start Date    End Date
            Peace          Arlington Police      Peace Officer      07/25/16
            Officer          Department            License
          (Full-time)


        86.      TCOLE records indicate that Officer Elliott received the following training and/or

education, through which he should have obtained sufficient knowledge to know that any failure

to act appropriately with regard to Mr. Olivas would have been unreasonable, deliberately

indifferent, and a constitutional violation:




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          Course        Course Title        Course Course          Institution
            No.                              Date   Hours
           3722  Peace Officer             12/04/16 160 Arlington Police Academy
                 Field Training
           2040    Defensive    08/08/16              8    Arlington Police Academy
                     Tactics
            101   Addendum      07/29/16             354   Arlington Police Academy
                  Basic Peace
                     Officer
         1000643 Basic Peace 06/17/16                643   Arlington Police Academy
                 Officer Course
                      (643)


        87.       TCOLE records indicate the following service history for Officer Guadarrama:

          Appointed           Department             Award           Service      Service
             As                                                     Start Date   End Date
            Peace          Arlington Police       Peace Officer      02/25/08    01/10/19
           Officer           Department             License
            Jailer          Parker County        Temporary Jailer   12/26/07     02/14/08
                           Sheriff’s Office         License
              Jailer       Tarrant County        Temporary Jailer   08/22/05     09/08/05
                           Sheriff’s Office         License


        88.       TCOLE records indicate that Officer Guadarrama received the following training

and/or education, through which he should have obtained sufficient knowledge to know that his

failure to act appropriately with regard to Mr. Olivas was unreasonable, deliberately indifferent,

and a constitutional violation:

         Course        Course Title        Course Course            Institution
           No.                              Date   Hours
          2040           Defensive        06/07/17   8   Arlington Police Academy
                          Tactics
           2040          Defensive    07/09/15       8     Arlington Police Academy
                          Tactics
           2040          Defensive    08/18/14       8     Arlington Police Academy
                          Tactics
           3344         Less Lethal   01/21/14       4     Arlington Police Academy
                         Electronic
                       Control Device
                          Training


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         Course       Course Title         Course Course            Institution
           No.                              Date   Hours
          2040          Defensive         08/19/13   8   Arlington Police Academy
                         Tactics
           2108      Arrest, Search,      05/30/13   24    Arlington Police Academy
                       and Seizure
                     (Intermediate)
           3340      Crowd Control        05/22/13    8    Arlington Police Academy
           3340      Crowd Control        04/30/13    8    Arlington Police Academy
           3344        Less Lethal        01/31/13    4    Arlington Police Academy
                        Electronic
                     Control Device
                         Training
           3344        Less Lethal        11/30/12    4    Arlington Police Academy
                        Electronic
                     Control Device
                         training
           2040         Defensive         06/06/12    8    Arlington Police Academy
                         Tactics
           2053        Baton (all)        12/13/11    8    Arlington Police Academy
           2107       Use of Force        11/15/11   16    Arlington Police Academy
                     (Intermediate)
           2040         Defensive         08/03/11    8    Arlington Police Academy
                         Tactics
           3344        Less Lethal        12/08/10    8    Arlington Police Academy
                        Electronic
                     Control Device
                         Training
           3340      Crowd Control        10/20/10    8    Arlington Police Academy
           2040         Defensive         05/12/10    5    Arlington Police Academy
                         Tactics
           2040         Defensive         05/12/10    5    Arlington Police Academy
                         Tactics
           2040         Defensive         03/31/09    5    Arlington Police Academy
                         Tactics
           3722      Peace Officer        12/15/08   160   Arlington Police Academy
                     Field Training
            101        Addendum           07/14/08   422   Arlington Police Academy
                      Basic Peace
                         Officer
           1000       Basic Peace         07/11/08   618   Arlington Police Academy
                         Officer




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        89.       TCOLE records indicate the following service history for Sergeant Jefferson

          Appointed           Department               Award          Service      Service
             As                                                      Start Date   End Date
            Peace          Arlington Police          Peace Officer   03/03/2003
           Officer           Department                License


        90.       TCOLE records indicate that Sergeant Jefferson received the following training

and/or education, through which he should have obtained sufficient knowledge to know that his

failure to act appropriately with regard to Mr. Olivas would have been unreasonable, deliberately

indifferent, and a constitutional violation:

         Course       Course Title         Course Course            Institution
           No.                              Date   Hours
          2040          Defensive         06/24/15   8   Arlington Police Academy
                         Tactics
           3009        Supervision        03/27/15     8     Arlington Police Academy
                       (other than
                      TCOLE 3701,
                       3710, 3711,
           3009        Supervision        03/26/15     8     Arlington Police Academy
                       (other than
                      TCOLE 3701,
                       3710, 3711,
           3009        Supervision        03/25/15     5     Arlington Police Academy
                       (other than
                      TCOLE 3701,
                       3710, 3711,
           3009        Supervision        03/25/15     3     Arlington Police Academy
                       (other than
                      TCOLE 3701,
                       3710, 3711,
           3009        Supervision        03/24/15     4     Arlington Police Academy
                       (other than
                      TCOLE 3701,
                       3710, 3711,
           3009        Supervision        03/24/15     4     Arlington Police Academy
                       (other than
                      TCOLE 3701,
                       3710, 3711,




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         Course Course Title               Course Course            Institution
           No.                              Date   Hours
          2096 Arrest, Search &           11/20/14  16   Arlington Police Academy
                Seizure (Non-
                 Intermediate
                    Core Co
          2040     Defensive              09/16/14   8    Arlington Police Academy
                    Tactics
          2108 Arrest, Search,            07/31/14   24   Arlington Police Academy
                  and Seizure
                (Intermediate)
          3737        New                 01/31/14   56   Institute for Law Enforcement
                 Supervisor’s                             Administration
                     Course
          3700  Management/               01/31/14   64   Institute for Law Enforcement
                 Supervision                              Administration
          3344    Less Lethal             01/28/14   4    Arlington Police Academy
                   Electronic
                Control Device
                    Training
          2040     Defensive              11/07/13   8    Arlington Police Academy
                    Tactics
          3340 Crowd Control              05/22/13   8    Arlington Police Academy
          3340 Crowd Control              04/30/13   8    Arlington Police Academy
          3344    Less Lethal             02/28/13   4    Arlington Police Academy
                   Electronic
                Control Device
                    Training
          3344    Less lethal             08/31/12   4    Arlington Police Academy
                   Electronic
                Control Device
                    Training
          2040     Defensive              06/06/12   8    Arlington Police Academy
                    Tactics
          2107   Use of Force             11/15/11   16   Arlington Police Academy
                (Intermediate)
          2040     Defensive              06/28/11   8    Arlington Police Academy
                    Tactics
          2040     Defensive              06/21/11   24   Arlington Police Academy
                    Tactics
          2056   Toxic Chem/              12/15/10   8    Arlington Police Academy
                 Radioactive
                   Materials




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         Course        Course Title        Course Course            Institution
           No.                              Date   Hours
          3344          Less Lethal       12/08/10   8   Arlington Police Academy
                         Electronic
                      Control Device
                          Training
             3340     Crowd Control       11/11/10    8    Arlington Police Academy
             3340     Crowd Control       11/04/10   24    Arlington Police Academy
             3343       Less Lethal       07/20/10    8    Arlington Police Academy
                         Chemical
                         Weapons
                      Training (OC,
                        Mace . . . )
             2108     Arrest, Search,     07/15/10   24    Arlington Police Academy
                        and Seizure
                      (Intermediate)
             2040        Defensive        05/14/10    5    Arlington Police Academy
                          Tactics
             3340     Crowd Control       04/28/10   24    Arlington Police Academy
             2040        Defensive        03/03/09    5    Arlington Police Academy
                          Tactics
             2040        Defensive        09/23/08   16    Arlington Police Academy
                          Tactics
          55037       Field Training      06/18/07   40    Arlington Police Academy
                          Officer
             1000      Basic Peace        03/03/03   576   Arlington Police Academy
                          Officer


Officer Elliott, who had much less training and experience than Sergeant Jefferson and Officer

Guadarrama, chose the correct course of action regarding use of his Taser – keep it holstered.


        F.          Defendant Police Officers Acted in an Unreasonable, Unconstitutional Manner

        91.         As alleged in this pleading, the Defendant police officers acted in a patently

unreasonable manner when Tasing, and ultimately killing, Mr. Olivas. Further, as alleged in this

pleading, Defendant police officers acted in an unconstitutional, unreasonable manner when

choosing not to evacuate other people from the residence but instead Tasing Mr. Olivas with such

people present.



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        92.      In the alternative, or in addition, Defendant police officers should have effectively

contained the residence by establishing a perimeter and requesting Arlington Police Department

Special Weapons and Tactics (SWAT) and the Arlington Police Department Crisis

Negotiation/Intervention Team to respond to the location. A crisis negotiation/intervention team

advises patrol officers on psychiatric issues that arise in the course of their law enforcement duties

and assists in transportation and processing of individuals deemed to need inpatient psychiatric

treatment. If Mr. Olivas barricaded himself in the home and refused to exit, utilization of SWAT

would have been a safer alternative. SWAT is equipped with special training, equipment, and

tools, such as ballistic shields, chemical agents, Saber Red 16-ounce Stream MK-9 or a similar

high-volume Oleoresin Capsicum (“OC”) Streamer, less-than-lethal launchers/projectiles,

ballistic/tactical gear, ballistic helmets, and armored rescue/recovery vehicles.             Handling

barricaded subjects, if such would be the case with Mr. Olivas after evacuation of the home,

requires special tools and expertise. This comes from specialized training of officers. The SWAT

team would have been equipped and trained to resolve any barricaded subject situation.

        93.      In addition, or in the alternative, the City of Arlington, through the Arlington Police

Department, failed to properly train and certify Sergeant Jefferson according to TCOLE records.

TCOLE records indicate that his last documented electronic control device/Taser training was on

January 28, 2014. Moreover, TCOLE records indicate that the last certified training of and for

Officer Guadarrama, for electronic control device/Taser, was on January 21, 2014. It appears that

the City of Arlington only gave internal credit for other purported Taser training for those police

officers. Upon information and belief, the City of Arlington did so because the training was not

up to standards required for training to be reported to TCOLE. Thus, Arlington’s failure to




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appropriately train the Defendant police officers was a moving force behind and proximately

caused Mr. Olivas’ death and all other damages asserted herein.


          G.        City of Arlington’s Monell Liability

          94.       Arlington is liable for all damages referenced and asserted in this pleading pursuant

to Monell v. Department of Soc. Servs., 436 U.S. 658 (1978) and its progeny. Such liability arises

due to the action and/or inaction of the chief policymaker for Arlington regarding police duties.

The chief policymaker was the police chief at all relevant times, or the chief policymaker for the

City had delegated such chief policymaking authority to the police chief. Regardless, Fifth Circuit

precedent is clear that Plaintiffs need not identify the specific chief policymaker at this stage of

this case. Arlington’s action and inaction referenced in this pleading, and its policies, practices,

and/or customs, were moving forces behind, resulted in, were producing causes of, and were

proximate causes of referenced constitutional violations and damages (including Mr. Olivas’

death).

                    1.     City of Arlington’s Policy Regarding Escalation in Force was a Moving
                           Force Behind and Proximately Caused Mr. Olivas’ Death

          95.       The Arlington Police Department had in place, on July 10, 2017, an escalation of

force policy. Upon information and belief, that policy read:

          Escalation. Under normal circumstances, only the methods or instrumentalities
          listed below may be used to apply force. These methods are listed in ascending
          order from the least severe to the most extreme:

                   Employee/employee presence: uniform, badge, patrol car, physical bearing;
                   Verbal direction: verbal communication, negotiation skills;
                   Passive guidance/control: hands-on escorting, picking up body weight,
                    pushing-pulling gently;
                   Oleoresin-Capsicum spray;
                   Electronic Control Device;
                   Empty hand control: soft (fingertip pressure applied to pressure points) or
                    hard (striking motorpoints with hands/feet);



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                 Intermediate weapons: soft/(wrist locks using impact weapon) or hard
                  (striking motorpoints with impact weapon);
                 Vascular Neck Restraint and;
                 Approved firearm and ammunition.

(Emphasis in original).

        96.       Arlington decided that the least severe use of force was police officer presence,

while the greatest use of force was use of a firearm. Arlington described the use of force continuum

being listed “from the least severe to the most extreme.” Thus, Arlington educated its police

officers that they should apply that continuum when dealing with people such as Mr. Olivas.

        97.       There are at least two issues with the use-of-force continuum, and its application,

which were moving forces behind and proximately caused Mr. Olivas’ death. First, the use-of-

force continuum indicates that Arlington police officers should use their electronic control devices

(Tasers) before they should attempt to use soft hand techniques, which could simply be fingertip

pressure applied to pressure points, or in the alternative hard-hand techniques. The continuum

also indicates that an officer should use his or her Taser before using intermediate weapons, such

as hard impact weapons. However, it is undisputed that a Taser can cause death in more situations

than would use of soft hand techniques or impact weapons applied to certain portions of a person’s

body. Thus, Arlington educated Defendant police officers to use their Tasers before using physical

force with Mr. Olivas. As shown elsewhere in this pleading, physical force is what should have

been used with Mr. Olivas, if even necessary, after removal of other people from the house.

        98.       Second, the use-of-force continuum contains no adjustment for and/or mention of

a situation like that involving Mr. Olivas. The continuum does not address the presence of gas

and/or flammable fumes. Thus, when Defendant officers chose to apply Arlington use-of-force

policy, they would be required to apply it as written and not take into account the fact that Mr.




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Olivas would catch fire if a Taser were used against him. This likewise was a moving force behind,

caused, and proximately caused Mr. Olivas’ injuries and death.

        99.      Interestingly, when Arlington police policies were obtained pursuant to a Public

Information Act request before suit was filed, Arlington chose to redact, and thus hide, what it

considered to be examples of appropriate Taser use:




(Redactions in original).

Upon information and belief, Arlington chose to redact these examples because they would show

that its use of force policy, as ultimately applied to Mr. Olivas’ situation, was unreasonable.


                 2.       City of Arlington’s Policy, Practice, and/or Custom of Allowing Officers
                          to Use a Taser Against a Person Doused with Gasoline was a Moving
                          Force Behind and Proximately Caused Mr. Olivas’ Death

        100.     As noted above, City of Arlington did not prohibit a police officer from using a

Taser on a person who had been doused with gasoline. Instead, the City left the decision to the

discretion of a police officer. This is an unreasonably policy, and it was implemented, upon

information and belief, knowing the certain effects it would have once a police officer Tased a

person doused with gasoline. The policy, practice, and/or custom was a moving force behind and

proximately caused Mr. Olivas’ death.



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                 3.       City of Arlington’s Policy, Practice, and/or Custom of Continuing to
                          Employ Officer Guadarrama After Numerous Reprimands was a Moving
                          Force Behind and Proximately Caused Mr. Olivas’ Death

        101.     City of Arlington’s policy, practice, and/or custom of continuing to employ Officer

Guadarrama, after he had received numerous reprimands and counseling regarding his official

duties, was a moving force behind and caused Mr. Olivas’ death. Before Officer Guadarrama’s

unfortunate interaction with Mr. Olivas, on July 10, 2017, he had received numerous counseling

reports and written reprimands from the Arlington Police Department. As a result, he should have

been terminated long before being in the bedroom with Mr. Olivas, armed with a Taser and other

weapons. The following table lists such reprimands and counseling reports occurring before July

10, 2017:

     Date                  Result                  Rule/Regulation             Description
 04/08/2010        Counseling Report             APDGO 402.02.A        Obedience to Laws        and
                                                                       Regulations
                                                                       2010-SD-0025
 09/12/2010        Written Reprimand             COAPP 201.07.A        Unauthorized Absence
                                                                       2010-SWRI-0004
 10/31/2010        Counseling Report             COAPP 201.00./C       Courtesy
                                                                       2010-SD-0085
 10/10/2013        Written Reprimand             APDGO 403.02.A.1      Probable Cause Arrest
                                                                       2013-SWRI-0005
 01/12/2015        Counseling Report             COAPP 202.02.B        Outside Employment
                                                                       2015-SD-0003
 01/20/2015        Counseling report             APDGO 410.02.B.2      Offense Report
                                                                       2015-SD-0004
 07/07/2015        Written Reprimand             APDGO 502.02.A        Outside Employment
                                                                       2015-SWRI-0006
 08/22/2016        Written Reprimand             APDGO 410.02.B.2(d)   Offense Report
                                                                       2016-SWRI-0007
 11/04/2016        Written Reprimand             COAPP 201.04.B        Judgment
                                                                       2016-SWRI-009




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Thus, before Officer Guadarrama shot his Taser at Mr. Olivas, he had received five written

reprimands and four counseling reports regarding his duty as an Arlington Police Officer. Nine

such incidents over the course of approximately seven years shows that he was not qualified to

continue in his duties. Most troubling is that the last five incidents occurred over a period of less

than two years.


                 4.       City of Arlington’s Failure to Discipline Sergeant Jefferson and/or Officer
                          Guadarrama is Evidence of Arlington’s Pre-Existing Unconstitutional
                          Policy, Practice, and/or Custom

          102.   Upon information and belief, Arlington failed to discipline or otherwise take any

material adverse employment action against Sergeant Jefferson and/or Officer Guadarrama as a

result of the incident involving Mr. Olivas. Upon information and belief, the City’s failure to do

so was some evidence of pre-existing policy, practice, and/or custom at the time of the incident.

Further, upon information and belief, this policy, practice, and/or custom was a moving force

behind and proximately caused Mr. Olivas’ death.


III.      Causes of Action

          A.     Cause of Action Against Defendants Sergeant Jefferson and Officer Guadarrama
                 and Under 42 U.S.C. § 1983 for Violation of 4th Amendment Rights

          103.   In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all factual allegations above) to the extent they are not

inconsistent with the cause of action pled here, Defendants Jefferson and Guadarrama are liable to

Plaintiffs (including Ms. Ramirez, Gabriel Anthony Olivas, the heirs-at-law of Mr. Olivas, and

female minor S.M.O. through Ms. Ramirez acting as her parent, guardian, and next friend),

pursuant to 42 U.S.C. § 1983, for violating Mr. Olivas’s rights guaranteed by the Fourth



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Amendment to the United States Constitution, as the Fourth Amendment has been incorporated to

be applied to the States pursuant to the Fourteenth Amendment or otherwise. Defendants Jefferson

and Guadarrama acted under color of state law at all times referenced in this pleading. Defendants

Jefferson and Guadarrama were deliberately indifferent to Mr. Olivas’s constitutional rights, and

they acted in an objectively unreasonable manner when seizing and using force with Mr. Olivas,

as well as performing all other actions, and further failing to act, as referenced in this pleading.

They exercised constitutionally-impermissible excessive force and seizure. Defendants Jefferson

and Guadarrama violated clearly established constitutional rights, and their conduct was

objectively unreasonable in light of clearly established law at the time of the relevant incident.

Defendants Jefferson and Guadarrama were not constitutionally permitted to use the force they

chose to use, and they are not entitled to qualified immunity.1



1
    The defense of qualified immunity is, and should be held to be, a legally impermissible defense
    except as applied to state actors protected by immunity in 1871 when 42 U.S.C. § 1983 was
    enacted. Congress makes laws. Courts do not. However, the defense of qualified immunity
    is a court-created defense found nowhere in the statute under which Plaintiffs bring claims in
    this case. Plaintiffs respectfully make a good faith argument for the modification of existing
    law, such that the court–created doctrine of qualified immunity be abrogated or limited. The
    natural person Defendants cannot show that they would fall within the category of persons
    referenced in the first sentence of this footnote. This would be Defendants’ burden, if they
    choose to assert the alleged defense. Qualified immunity, as applied to persons not immunized
    under common or statutory law in 1871, is untethered to any cognizable legal mandate and is
    flatly in derogation of the plain meaning and language of Section 1983. See Ziglar v. Abassi,
    137 S. Ct. 1843, 1870-72 (2017) (Thomas, J., concurring). Qualified immunity should have
    never been instituted as a defense, without any statutory, constitutional, or long-held common
    law foundation, and it is unworkable, unreasonable, and places too high a burden on Plaintiffs
    who suffer violation of their constitutional rights. Joanna C. Schwartz, The Case Against
    Qualified Immunity, 93 Notre Dame L. Rev. 1797 (2018) (observing that qualified immunity
    has no basis in the common law, does not achieve intended policy goals, can render the
    Constitution “hollow,” and cannot be justified as protection for governmental budgets); and
    William Baude, Is Qualified Immunity Unlawful?, 106 Calif. L. Rev. 45, 82 (2018) (noting
    that, as of the time of the article, the United States Supreme Court decided 30 qualified
    immunity cases since 1982 and found that Defendants violated clearly established law in only
    2 such cases). Justices including Justice Thomas, Justice Breyer, Justice Kennedy, and Justice
    Sotomayor have criticized qualified immunity. Schwartz, supra at 1798–99. Plaintiffs include


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        104.     The United States Court of Appeals for the Fifth Circuit has held that using a state’s

wrongful death and survival statutes creates an effective remedy for civil rights claims pursuant to

42 U.S.C. § 1983. Therefore, Plaintiffs (including Ms. Ramirez, Gabriel Anthony Olivas, the

heirs-at-law of Mr. Olivas, and female minor S.M.O. through Ms. Ramirez acting as her parent,

guardian, and next friend) seek all remedies and damages available under Texas and federal law

including but not necessarily limited to pursuant to the Texas wrongful death statute (Tex. Civ.

Prac. & Rem. Code § 71.002 et seq.), the Texas survival statute (Tex. Civ. Prac. & Rem. Code §

71.021), the Texas Constitution, common law, and all related and/or supporting case law.

Therefore, Mr. Olivas’ estate, and/or his heirs-at-law, whose claims are asserted through Ms.

Ramirez as the independent administrator of Mr. Olivas’ estate, suffered the following damages,

for which they seek recovery from these natural person Defendants:

            Mr. Olivas’s conscious physical pain, suffering, and mental anguish;

            Mr. Olivas’s medical expenses;

            Mr. Olivas’s funeral expenses; and

            exemplary/punitive damages.

All such damages were caused and/or proximately caused by the natural person Defendants. If

Mr. Olivas had lived, he would have been entitled to bring a 42 U.S.C. § 1983 action and obtain

remedies and damages provided by Texas and federal law.

        105.     Ms. Ramirez, Gabriel Anthony Olivas, and female minor S.M.O. (such claims

being asserted through Ms. Ramirez as S.M.O.’s parent, guardian, and next friend) also seek all

damages available to them individually as a result of Mr. Olivas’s wrongful death. Like all other



    allegations in this footnote to assure that, if necessary, the qualified immunity abrogation or
    limitation issue has been preserved.



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damages alleged in this section of this pleading, damages suffered by these people were caused

and/or proximately caused by the natural person Defendants. Therefore, these people seek and are

entitled to obtain all remedies and damages available to them for the 42 U.S.C. § 1983 claims. The

natural person Defendants’ actions caused, were proximate causes of, and/or were producing

causes of the following damages suffered by these people, for which they individually seek

compensation:

            loss of services that Ms. Ramirez would have received from Mr. Olivas;

            Mr. Olivas’ funeral expenses;

            past mental anguish and emotional distress suffered by them resulting from and caused
             by Mr. Olivas’ death;

            future mental anguish and emotional distress suffered by them resulting from and
             caused Mr. Olivas’ death;

            loss of companionship and society that they would have received from Mr. Olivas; and

            exemplary/punitive damages.

        106.     Exemplary/punitive damages are appropriate in this case to deter and punish clear

and unabashed violation of Mr. Olivas’ constitutional rights. The natural person Defendants’

actions and/or inaction showed a reckless or callous disregard of, or indifference to, Mr. Olivas’

rights and safety. In addition, all such damages resulted from the natural person Defendants

choosing to proceed with conscious indifference to and disregard of Mr. Olivas’ rights, safety, or

welfare after having an actual subjective awareness of the risk involved but nevertheless

proceeding with actions resulting in his injuries and death. The natural person Defendants’ actions,

when viewed objectively from their standpoint at the time of the acts and/or omissions involved,

resulted in an extreme degree of risk, considering the probability and magnitude of potential harm

to Mr. Olivas. Moreover, Plaintiffs (including Ms. Ramirez, Gabriel Anthony Olivas, the heirs-



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at-law of Mr. Olivas, and female minor S.M.O. through Ms. Ramirez acting as her parent,

guardian, and next friend) seek from the natural person Defendant reasonable and necessary

attorneys’ fees available pursuant to 42 U.S.C. §§ 1983 and 1988.


        B        Cause of Action Against City of Arlington Under 42 U.S.C. § 1983 for Violation
                 of 4th Amendment Rights

        107.     In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all factual allegations above) to the extent they are not

inconsistent with the cause of action pled here, Defendant City of Arlington is liable to Plaintiffs

(including Ms. Ramirez, Gabriel Anthony Olivas, the heirs-at-law of Mr. Olivas, and female minor

S.M.O. through Ms. Ramirez acting as her parent, guardian, and next friend), pursuant to 42 U.S.C.

§ 1983, for violating Mr. Olivas’ rights guaranteed by the Fourth Amendment to the United States

Constitution, as the Fourth Amendment has been incorporated to apply to the States pursuant to

the Fourteenth Amendment or otherwise. Defendants Jefferson and Guadarrama were at all times

referenced in this pleading acting in the course and scope of their duties of and for City of

Arlington, and they were acting under color of state law. The City acted or failed to act under

color of state law at all relevant times.

        108.     City of Arlington’s customs, practices, and/or policies caused, were proximate

causes of, and/or were producing causes of all constitutional violations and damages referenced

herein. The Arlington Police Department chief of police was the chief policymaker at all times

relevant to this pleading. In the alternative, some other person was the relevant chief policymaker.

Regardless, the Fifth Circuit has made it clear that Plaintiffs need not identify the specific

policymaker at this stage of the case.

        109.     Plaintiffs incorporate all factual and Monell allegations above regarding the basis


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for City of Arlington’s liability in this case. The City was deliberately indifferent to, and acted in

an objectively unreasonably manner regarding, Mr. Olivas’ constitutional rights. The City’s

customs, practices, and/or policies were moving forces behind and caused violations of Mr.

Olivas’s constitutional rights and showed deliberate indifference to the known or obvious

consequences of such customs, practices, and/or policies: constitutional violations. They also

caused, were proximate causes of, and were producing causes of all damages (and death) resulting

from unconstitutional excessive force against and seizure of Mr. Olivas.

        110.      The United States Court of Appeals for the Fifth Circuit has held that using a

State’s wrongful death and survival statutes creates an effective remedy for civil rights claims

pursuant to 42 U.S.C. § 1983. Therefore, Plaintiffs (including Ms. Ramirez, Gabriel Anthony

Olivas, the heirs-at-law of Mr. Olivas, and female minor S.M.O. through Ms. Ramirez acting as

her parent, guardian, and next friend), seek all remedies and damages available under Texas and

federal law including but not necessarily limited to the Texas wrongful death statute (Tex. Civ.

Prac. & Rem. Code § 71.002 et seq.), the Texas survival statute (Tex. Civ. Prac. & Rem. Code §

71.021), the Texas Constitution, common law, and all related and/or supporting case law.

Therefore, Mr. Olivas’ estate, and/or his heirs-at-law, whose claims are asserted through Ms.

Ramirez as the independent administrator of Mr. Olivas’ estate, suffered the following damages,

for which they seek recovery from the City:

            Mr. Olivas’s conscious physical pain, suffering, and mental anguish;

            Mr. Olivas’s medical expenses; and

            Mr. Olivas’s funeral expenses.




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All such damages were caused and/or proximately caused by the City. If Mr. Olivas had lived, he

would have been entitled to bring a 42 U.S.C. § 1983 action and obtain remedies and damages

provided by Texas and federal law.

        111.     Ms. Ramirez, Gabriel Anthony Olivas, and female minor S.M.O. (such claims

being asserted through Ms. Ramirez as S.M.O.’s parent, guardian, and next friend) also seek all

damages available to them individually as a result of Mr. Olivas’ wrongful death. Like all other

damages alleged in this section of this pleading, damages suffered by these people were caused

and/or proximately caused by the City and the City’s policies, practices, and/or customs were

moving forces behind and caused such damages. Therefore, the City’s actions, policies, practices,

and customs caused, were proximate causes of, were producing causes of, and were moving forces

behind the following damages suffered by these people, for which they individually seek

compensation:

            loss of services that Ms. Ramirez would have received from Mr. Olivas;

            Mr. Olivas’ funeral expenses;

            past mental anguish and emotional distress suffered by them resulting from and caused
             by Mr. Olivas’ death;

            future mental anguish and emotional distress suffered by them resulting from and
             caused by Mr. Olivas’ death; and

            loss of companionship and society that they would have received from Mr. Olivas.

Moreover, Plaintiffs (including Ms. Ramirez, Gabriel Anthony Olivas, the heirs-at-law of Mr.

Olivas, and female minor S.M.O. through Ms. Ramirez acting as her parent, guardian, and next

friend) seek from the City reasonable and necessary attorneys’ fees pursuant to 42 U.S.C. §§ 1983

and 1988.




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IV.      Concluding Allegations

         A.      Conditions Precedent

         112.    All conditions precedent to assertion of Plaintiffs’ claims have occurred.


         B.      Use of Documents

         113.    Plaintiffs intend to use at one or more pretrial proceedings, in motion practice,

and/or at trial all documents produced by Defendants.


         C.      Jury Demand

         114.    Plaintiffs demand a jury trial on all issues which may be tried to a jury.


         D.      Prayer

         115.    For these reasons, Plaintiffs ask that Defendants be cited to appear and answer, and

that Plaintiffs (including Ms. Ramirez, Gabriel Anthony Olivas, the heirs-at-law of Mr. Olivas,

and female minor S.M.O. through Ms. Ramirez acting as her parent, guardian, and next friend)

have judgment for damages within the jurisdictional limits of the court and against all Defendants,

jointly and severally, as legally applicable, for damages referenced and/or mentioned elsewhere in

this pleading, and for including but not necessarily limited to:

                 a)       actual damages of and for Ms. Ramirez, Gabriel Anthony Olivas, and
                          female minor S.M.O., individually, including but not necessarily limited to;

                          •        loss of services that Ms. Ramirez would have received from Mr.
                                   Olivas;

                          •        Mr. Olivas’ funeral expenses;

                          •        past mental anguish and emotional distress resulting from and
                                   caused by Mr. Olivas’ death;

                          •        future mental anguish and emotional distress resulting from and
                                   caused by Mr. Olivas’ death; and



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                          •        loss of companionship and society that they would have received
                                   from Mr. Olivas;

                 b)       actual damages of and for the heirs of Mr. Olivas through the Independent

                          Administrator of his estate, Ms. Ramirez, including but not necessarily

                          limited to:

                          •        Mr. Olivas’ conscious physical pain, suffering, and mental anguish;

                          •        Mr. Olivas’ medical expenses; and

                          •        Mr. Olivas’ funeral expenses;

                 c)       exemplary/punitive damages for all Plaintiffs (including Ms. Ramirez,

                          Gabriel Anthony Olivas, the heirs-at-law of Mr. Olivas, and female minor

                          S.M.O. through Ms. Ramirez acting as her parent, guardian, and next friend)

                          from the natural person Defendants;

                 d)       reasonable and necessary attorneys’ fees for all Plaintiffs (including all heirs

                          at law of Mr. Olivas, Ms. Ramirez, Gabriel Anthony Olivas, and female

                          minor S.M.O. [through Ms. Ramirez acting as her parent, guardian, and next

                          friend]) through trial and any appeals and other appellate proceedings,

                          pursuant to 42 U.S.C. §§ 1983 and 1988;

                 e)       court costs and all other recoverable costs;

                 f)       prejudgment and postjudgment interest at the highest allowable rates; and

                 g)       all other relief, legal and equitable, general and special, to which Plaintiffs

                          (including Ms. Ramirez, Gabriel Anthony Olivas, the heirs-at-law of Mr.

                          Olivas, and female minor S.M.O. through Ms. Ramirez acting as her parent,

                          guardian, and next friend) are entitled.




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                                                 Respectfully submitted,


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